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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE


DENNIS MAURER, Individually, and
RONALD MOORE, Individually,

               Plaintiffs,                                    Case No.

VS.


TD BANK U.S. HOLDING COMPANY,
a Delaware Corporation,

               Defendant.
                                                    /




                                         COMPLAINT


       Plaintiffs, DENNIS MAURER, Individually, and RONALD MOORE, Individually, on

their behalf and on behalf of all other mobility impaired individuals similarly situated (sometimes

referred to as "Plaintiff’ or "Plaintiffs"), hereby sue the Defendant, TD BANK U.S. HOLDING
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COMPANY, a Delaware Corporation (sometimes referred to as "Defendant"), for Injunctive

Relief, damages, attorney’s fees, litigation expenses, and costs pursuant to the Americans with

                                        m-
Disabilities Act, 42 U.S.C. § 12181 et("ADA") and the New Jersey Law Against

Discrimination (N.J.S .A.).


        1.      Plaintiff, RONALD MOORE, is an individual residing at 1002 Central Avenue,

New Providence, NJ 07974, in the County of Union.


        2.      Plaintiff, DENNIS MAURER, is an individual residing at 8 Prospect Avenue, Egg

Harbor Township, NJ 08234 in the County of Atlantic.


        3.      Defendant’s properties, TD Bank, are located at:

                  TD Bank                                           TD Bank
                  41 Cornwell Drive                                 399 New Road
                  Bridgeton, New Jersey                             Somers Point, New Jersey

                  TD Bank                                            TD Bank
                  53 South Laurel Street                             3850 South Delsea Drive
                  Bridgeton, New Jersey                              Vineland, New Jersey 07755

                  TD Bank                                           TD Bank
                  3002 English Creek Ave                            80 South Street
                  Egg Harbor Township, New Jersey                   New Providence, New Jersey

                  TD Bank                                            TD Bank
                  132 South Shore Road                               331 Springfield Ave
                  Marmora, New Jersey                                Berkeley Heights, New Jersey

                  TD Bank                                            TD Bank
                  1120 Tilton Road                                   101 East 9th Street
                  Northfield, New Jersey                             Ocean City, New Jersey

                Venue is properly located in the District of New Jersey because venue lies in the

judicial district of the properties’ situs. The Defendant’s properties are located in and do business

within this judicial district.
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        5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et Leq. See also 28 U.S.C. § 2201 and §

2202.

        6.      Plaintiff Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA, being a quadriplegic and uses a wheelchair for

mobility. Ronald Moore is a customer of TD Bank and has transacted business at the following

properties which form the basis of this lawsuit and he plans to return to the properties in the near

future to avail himself of the goods and services offered to the public at the properties:

                TD Bank                                                TD Bank
                80 South Street                                        101 East 9 11’ Street
                New Providence, New Jersey                             Ocean City, New Jersey

                TD Bank
                331 Springfield Ave
                Berkeley Heights, New Jersey


The Plaintiff has encountered architectural barriers at the subject properties. The barriers to

access at the properties have endangered his safety, impaired his ability to park at the premises, to

access the premises, to use the counters and writing surfaces, and to use the restrooms.


        7.      Plaintiff Dennis Maurer is a New Jersey resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Mr. Maurer has multiple sclerosis and is

mobility impaired, and uses a wheelchair for mobility. Dennis Maurer is a customer of TD Bank

and has transacted business at the following properties which form the basis of this lawsuit and he

plans to return to the properties in the near future to avail himself of the goods and services offered

to the public at the properties:



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                TD Bank                                             TD Bank
                41 Cornwell Drive                                   1120 Tilton Road
                Bridgeton, New Jersey                               Northfield, New Jersey

                TD Bank                                             TD Bank
                53 South Laurel Street                              399 New Road
                Bridgeton, New Jersey                               Somers Point, New Jersey

                TD Bank                                             TD Bank
                3002 English Creek Ave                              3850 South Delsea Drive
                Egg Harbor Township, New Jersey                     Vineland, New Jersey 07755

                TI) Bank                                            TD Bank
                132 South Shore Road                                101 East 9th Street
                ManTriora, New Jersey                               Ocean City, New Jersey


The Plaintiff has encountered architectural barriers at the subject properties. The barriers to

access at the properties have endangered his safety, impaired his ability to park at the premises, to

access the premises, to use the counters and writing surfaces, and to use the restrooms.


       8.      Defendant owns, leases, leases to, or operates places of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

Defendant is responsible for complying with the obligations of the ADA. The places of public

accommodation that the Defendant owns, operates, leases or leases to are known as TD Bank, and

are located as listed at paragraph 3. above.


       9.      DENNIS MAURER and RONALD MOORE have a realistic, credible, existing and

continuing threat of discrimination from the Defendant’s non-compliance with the ADA with

respect to these properties as described but not necessarily limited to the allegations in paragraph

11 of this complaint. Plaintiffs have reasonable grounds to believe that they will continue to be

subjected to discrimination in violation of the ADA by the Defendant. RONALD MOORE and

DENNIS MAURER desire to visit TD Bank not only to avail themselves of the goods and services
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available at the properties but to assure themselves that these properties are in compliance with the

ADA so that they and others similarly situated will have full and equal enjoyment of the properties

without fear of discrimination.


        10.     The Defendant has discriminated against the individual Plaintiffs by denying them

access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182


        11.     The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiffs in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000

or less). A preliminary inspection of the TD Bank properties has shown that violations exist.

These violations that RONALD MOORE and DENNIS MAURER personally observed or

encountered include, but are not limited to:


                Parking and Exterior Accessible Route

               a.     Parking spaces throughout TD Banks are not maintained and are not located
       on the closest available accessible route, violating Sections 502 and 502.4 of the 2010
       Accessibility Standards. These conditions prevent Mr. Moore and Mr. Maurer
       wheelchairs to access TD Bank freely and safely.

               b.      Curb ramps at TD Banks contain changes of level and cross slopes beyond
       the limits, violating Sections 406 and 502.7 of the 2010 Accessibility Standards.

               C.     TD Bank fails to provide a safe accessible route to the adjacent bus stop,
       street or sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards. This is a
       common feature at all inspected TD Banks.

               Access to Goods and Services

               a.     Counters and writing surfaces throughout TD Banks are mounted beyond
       the reach of Mr. Moore, Mr. Maurer and others in wheelchairs, violating Sections 308 and
       901, 904 of the 2010 Accessibility Standards. This is a common feature at all inspected TD
       Banks.

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               Restrooms

               a.     Restrooms at TD Banks were reported to be unsafe for use by the plaintiffs.
       Inspection revealed water closets at the majority of TD Banks contain the flush control
       mounted on the wall side causing Mr. Moore and Mr. Maurer to reach across water closets,
       violating Section 601 of the 2010 Accessibility Standards.

              b.       Restrooms at all inspected TD Banks provide improper identification
       signage, violating Sections 216.8 and 703 of the 2010 Accessibility Standards. This is a
       common feature at all inspected TD Banks.


        12.    All of the foregoing violations are also violations of the 1991 Americans with

Disability Act Guidelines (ADAAG), and the 2010 Standards for Accessible Design, as

promulgated by the U.S. Department of Justice.


        13.    The discriminatory violations described in paragraph 11 are not an exclusive list of

the Defendant’s ADA violations. Plaintiffs require the inspection of the Defendant’s places of

public accommodation in order to photograph and measure all of the discriminatory acts violating

the ADA and all of the barriers to access. The individual Plaintiffs, and all other individuals

similarly situated, have been denied access to, and have been denied the benefits of services,

programs and activities of the Defendant’s buildings and its facilities, and have otherwise been

discriminated against and damaged by the Defendant because of the Defendant’s ADA violations,

as set forth above. The individual Plaintiffs, and all others similarly situated will continue to

suffer such discrimination, injury and damage without the immediate relief provided by the ADA

as requested herein. In order to remedy this discriminatory situation, the Plaintiffs require an

inspection of the Defendant’s places of public accommodation in order to determine all of the areas

of non-compliance with the Americans with Disabilities Act.


        14.    Defendant has discriminated against the individual Plaintiffs by denying them

access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

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 accommodations of its places of public accommodation or commercial facilities in violation of 42

 U.S.C. § 12181et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

 discriminate against the Plaintiffs, and all those similarly situated by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to afford

 all offered goods, services, facilities, privileges, advantages or accommodations to individuals

with disabilities; and by failing to take such efforts that may be necessary to ensure that no

individual with a disability is excluded, denied services, segregated or otherwise treated

 differently than other individuals because of the absence of auxiliary aids and services.


         15.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

Considering the balance of hardships between the Plaintiffs and Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

Plaintiffs have retained the undersigned counsel and are entitled to recover attorney’s fees, costs

and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

         16.    Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its places of public accommodation that have

existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant’s places of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including individuals

who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one which was

designed and constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR

36.401, then the Defendant’s facility must be readily accessible to and useable by individuals with

disabilities as defined by the ADA.


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        17.    Notice to Defendant is not required as a result of the Defendant’s failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and

gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiffs or

waived by the Defendant.


        18.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiffs Injunctive Relief, including an order to require the Defendant to alter the TD Banks to

make those facilities readily accessible and useable to the Plaintiffs and all other persons with

disabilities as defined by the ADA; or by closing the facilitis until such time as the Defendant cures

its violations of the ADA.


       WHEREFORE, Plaintiffs respectfully request:

               a.      The Court issue a Declaratory Judgment that determines that the Defendant

        at the commencement of the subject lawsuit is in violation of Title III of the Americans

       with Disabilities Act, 42 U.S.C. § 12181 et seq.

               b.      Injunctive relief against the Defendant including an order to make all

       readily achievable alterations to the facilities; or to make such facilities readily accessible

        to and usable by individuals with disabilities to the extent required by the ADA; and to

       require the Defendant to make reasonable modifications in policies, practices or

       procedures, when such modifications are necessary to afford all offered goods, services,

        facilities, privileges, advantages or accommodations to individuals with disabilities; and by

        failing to take such steps that may be necessary to ensure that no individual with a

        disability is excluded, denied services, segregated or otherwise treated differently than

        other individuals because of the absence of auxiliary aids and services.

                C.     An award of attorney’s fees, costs and litigation expenses pursuant to 42
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       U.S.C. § 12205.

               d,      Such other relief as the Court deems just and proper, and/or is allowable

       under Title III of the Americans with Disabilities Act.


                                                  COUNT II

              VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION


        19.    Plaintiffs reallege all prior obligations as if fully set forth herein. Plaintiffs repeat

the allegations contained in all of the proceeding paragraphs.


       20.     Defendant’s facilities are places of public accommodation as defined by

N.J.S.A.10:5-5, (New Jersey Law Against Discrimination).


       21.     New Jersey law provides that all persons shall have the opportunity to obtain all the

accommodations, advantages, facilities and privileges of any place of public accommodation

without discrimination on the basis of disability. This opportunity is recognized and declared to

be a civil right. (See, N.J.S.A. 10:5-4.)


       22.     As a result of the aforementioned discrimination, Plaintiffs DENNIS MAURER

and RONALD MOORE have sustained emotional distress, mental anguish and suffering and

humiliation, and other injuries, in violation of the New Jersey Law Against Discrimination.


       WHEREFORE, RONALD MOORE and DENNIS MAURER demand judgment for

damages, attorneys’ fees, litigation expenses, including expert fees and costs pursuant to the New

Jersey Law Against Discrimination.
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                                    Respectfully submitted,

 Dated:   5er        20c
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                                     and Dennis Maurer, Individually




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